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                                        IN THE UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                               FAYETTEVILLE DIVISION

                 UNITED STATES OF AMERICA

                 V.                                     NO. 09-50103

                 MANUEL A. GAXIOLA


                            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                        Before the Court is Defendant’s Application to Proceed In Forma Pauperis. (Doc. 98).

                 Said motion has been referred to the undersigned.

                        On March 15, 2012, United States District Judge Jimm Larry Hendren ordered that Doc.

                 #95, being considered and treated as a motion for a certificate of appealability, be denied, since

                 Defendant did not make a substantial showing of the denial of a constitutional right in his § 2255

                 motion. (Doc. 97).

                        A certificate of appealability is a jurisdictional prerequisite to review of a denial of

                 habeas corpus petition. See United States v. Lambros, 404 F.3d 1034, 1036 (8th Cir. 2005), cert.

                 denied 125 S.Ct. 2953 (2005)(holding that a certificate of appealability is required to appeal the

                 denial of any motion that effectively or ultimately seeks habeas corpus or § 2255 relief). The

                 Court hereby finds that based upon Judge Hendren’s order, Defendant’s Application to Proceed

                 In Forma Pauperis is denied.

                        The parties have fourteen days from receipt of our report and recommendation in

                 which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

                 objections may result in waiver of the right to appeal questions of fact. The parties are

                 reminded that objections must be both timely and specific to trigger de novo review by the




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                 district court.

                        IT IS SO ORDERED this 2nd day of April, 2012.




                                                           /s/ Erin L. Setser
                                                          HONORABLE ERIN L. SETSER
                                                          UNITED STATES MAGISTRATE JUDGE




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